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 5
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 6
 7
 8                   UNITED STATES DISTRICT COURT
 9                 NORTHERN DISTRICT OF CALIFORNIA
10
11
12
13
14    Andres Gomez
                                               CASE NO.: 3:21-cv-07148-VC
15
                 Defendant.
16                                             The Honorable Vince Chhabria
17                   vs.                       Courtroom 4
18                                             DEFENDANT'S SUPPLEMENTAL
      The Magliocco Group Inc.
19                                             BRIEF ON NEW MATERIAL
20               Defendant.                    FACTS

21                                             9/15/2021
22
                                               Hearing Date: 3/17/2022
23
                                               Time: 10:00 AM
24
25
26
27
28


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 1       DEFENDANT'S SUPPLEMENTAL BRIEF ON NEW MATERIAL
 2                           FACTS
 3
 4            On January 18, 2022 defendant, The Magliocco Group Inc. filed a
 5      Motion to Dismiss set to be heard on March 17, 2022 at 10 AM. Plaintiff filed
 6
 7      its opposition on February 1, 2022. On March 15, 2022 (Dkt. 25) the court

 8      vacated the hearing scheduled for March 17, 2022, and announced that it
 9
        would issue a written ruling on the Motion.
10
11            The ruling has not been filed at this writing. In the interim, new
12
        material facts (and authority) have emerged which are likely to directly affect
13
14      the issue of Plaintiff's standing.
15
              INTRODUCTION
16
17            In September, 2021, serial filer Mr. Andres Gomez (hereinafter also
18
        "Plaintiff") began executing a plan to file suit against real estate agents /
19
20      brokers in Napa under the ADA. Plaintiff filed suit against dozens, alleging
21
        he desired to buy property in Napa, that he was a "prospective customer," that
22
23      he wanted to view houses for sale, particularly those featured on the Websites
24      operated by each defendant agents/brokers, but could not because they were
25
26      not readable using screen reader software (SRS).

27            What Plaintiff (and his attorneys) failed to realize was that Plaintiff
28


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 1      had, months earlier, testified at a deposition in Gomez v. Aslan, (Case
 2
        Number: 21STCV17753, Superior Court of California, County of Los
 3
 4      Angeles, The Honorable Gregory Alarcon), that he was domiciled in Florida,
 5
        and collected around $900 a month in SSDI Benefits. Being a "prospective
 6
 7      customer" for Napa property was simply implausible. Yet, each complaint
 8
        alleged:
 9
10             "Plaintiff was a prospective customer who wished to access
11             Defendant's goods and services of the Real Estate. ¶ 16;
12             Plaintiff visited the Website in March 2021 and July 2021 with
13             the intent get [sic] information about houses on sale in Northern
14             California. ¶ 17."
15
16
               In truth, Plaintiff was never a prospective customer. This became
17
18      apparent when the Court, in Gomes v. Gates, below, gave Plaintiff an
19      ultimatum. Judge Alsup, in effect ordered Plaintiff to either admit that he is
20
21      unable to afford property in Napa and to dismiss the case, or to testify at a
22      deposition wherein he would be unable to object to scrutiny into his financial
23
        affairs.
24
25             Backed into a corner, Plaintiff did an about-face, and admitted - under
26
        penalty of perjury - that he was, in effect, not a prospective customer and
27
28      instead a "window shopper," a "dreamer." Yes, a window shopper, and a


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 1      dreamer.
 2
              This attorney represents the defendants in the following Gomez cases:
 3
 4
                    Gomez v. Buresh, Case Number: 4:21-cv-08138-KAW,
 5
 6           United States District Court, Central District of California,
 7           The Honorable Kandis A. Westmore
 8                  Gomez v. Gates Estates, Inc., Case Number: 3:21-cv
 9           -07147-SK, U.S. District Court California Northern District
10           (San Francisco), The Honorable William Alsup
11                  Gomez v. Lesti Real Estate, Inc., Case Number: 3:21-cv
12
             -09554-TSH, U.S. District Court, California Northern District
13
             (San Francisco), The Honorable Thomas S. Hixson
14
                    Gomez v. Magliocco Group Inc., Case Number: 3:21-cv
15
             -07148-JCS, United States District Court, Northern District of
16
17           California, The Honorable Vince Chhabria

18                  Gomez v. Naimo, Case Number: 4:21-cv-07328-SBA,
19           United States District Court for the Northern District of
20           California (Oakland), The Honorable Saundra Brown Armstrong
21                  Gomez v. Smith, Case Number: 3:21-cv-07154-JCS, U.
22           S. District Court, Northern District of California (San
23           Francisco), The Honorable Richard Seeborg
24
                    Gomez v. Sperow, Case Number: 4:21-cv-07852-YGR,
25
             United States District Court for the Northern District of
26
             California (Oakland), The Honorable Yvonne Gonzalez Rogers
27
28


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 1            Matter in bold have been dismissed by the Courts on the ground that
 2
        Plaintiff Gomez lacked standing. The rulings on motions to dismiss on the
 3
 4      remaining cases were either made before Plaintiff's admission, or have yet to
 5
        be made.
 6
 7            In view of Plaintiff 's change in posture, his admission that he is not a
 8
        prospective customer, Defendant, here, has patiently waited for Plaintiff to
 9
10      apply for a voluntary dismissal. That application has not been forthcoming.
11      Defendant, therefore, submits a Supplemental Brief in light of the new
12
13
        material facts that have emerged.

14            NEW MATERIAL FACTS HAVE EMERGED
15
              On February 14, 2022 the Court in Gomez v. Gates, above, following a
16
17      hearing on Defendant's Motion to Dismiss, ordered Plaintiff to:
18
                     "[F]ile a stipulation that the basis for his standing to
19
              bring this lawsuit is that he is a “tester” solely for
20
21            defendant’s website. That is, that plaintiff only desires to use
22            defendant’s website; that plaintiff has no intent or desire to
23            avail himself of, and that he has not been deterred from
24            availing himself of, the services of defendant’s physical
25            office, as a “tester” or otherwise. If plaintiff files a clear-cut
26            stipulation so stating, the motion to dismiss will be granted
27
              on that question of law and plaintiff may appeal."
28


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 1            (Dkt 33). See Exhibit B for a true and correct copy.
 2
              On February 14, 2022, Plaintiff filed a declaration, renouncing his
 3
 4      purported posture as a prospective customer, the relevant part of which reads:
 5
                     "It is unlikely that I would purchase a home in the
 6
              near-term from one of the listings offered by the
 7
              Defendant in this case, however there is value to me in
 8
 9
              consuming the information provided in real estate listings

10            regardless of any specific plans to purchase those listings. (¶
11            5).
12                   Window shopping and dreaming about real estate is
13            a hobby of mine. I occasionally buy lottery tickets and dream
14            of buying homes in expensive areas such as the Napa Valley
15            area. I do not believe that my ability or inability to currently
16
              purchase property should result in my exclusion from the
17
              privilege of viewing listings that are publicly listed on the
18
              site." Emphasis added. (¶ 10)."
19
              (Dkt 34). See Exhibit C for a true and correct copy.
20
21            On February 15, 2022 the Court GRANTED Defendant's Motion to
22
        Dismiss, ruling in relevant part:
23
24                   "Instead, in our circuit, Title III applies to a website
25            only if the website “facilitates access to the goods and
26            services of a place of public accommodation,” or, put
27
              differently, if the inaccessibility of the website “impedes
28
              access to the goods and services” of the physical location.

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 1            Ibid. (emphasis added). Therefore, because a website is
 2            neither a public accommodation, nor a service of a public
 3            accommodation under Robles, plaintiff must allege and
 4
              prove that the inaccessibility of the website has deterred him
 5
              from using the services of the physical location.
 6
                    Here, as merely a dreamer and window-shopper,
 7
              plaintiff has affirmatively disclaimed any intention of “engag
 8
 9            [ing] the services of the business” (Dkt. No. 34 at 1.)

10            Plaintiff wants to look up houses for sale in Napa on
11            defendant’s website, but, under Robles, the ADA does not
12            protect his general interest in being able to gather
13            information from defendant’s website unrelated to any
14            desire to avail himself of defendant’s actual services.
15            Instead, the ADA protects plaintiff’s interest in using the
16
              website only if its inaccessibility impedes his access to the
17
              services of defendant’s physical office. Since plaintiff has
18
              no intent or desire to use such services, the inaccessibility of
19
              the website has not impeded his access to them and,
20
21            therefore, he has not suffered an injury under the
22            ADA." (Emphasis added).
23            (Dkt 36). See Exhibit D for a true and correct copy.
24
              OTHER DECISIONS
25
26            On January 12, 2022 the Court in Gomez v. Smith, (Case Number:
27
        3:21-cv-07154-JCS, U.S. District Court, Northern District of California (San
28


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 1      Francisco), The Honorable Richard Seeborg), filed an Order GRANTING
 2
        Defendant's Motion to Dismiss, ruling in relevant part:
 3
 4                     "[T]he Ninth Circuit requires a nexus between the
 5            plaintiff’s visit to the website and a place of public
 6            accommodation, not just any physical location. See Robles,
 7            913 F.3d at 905. Gomez has offered conclusory statements in
 8
              his complaint, stating that “[t]he Website is a nexus between
 9
              Real Estate’s customers and the terrestrial based privileges,
10
              goods or services offered by Real Estate” and that “Real
11
              Estate operates privileges, goods or services out of a physical
12
13
              location in California. These services are open to the public,

14            places      of     public      accommodation,          and      business
15            establishments.” Complaint ¶¶ 12-13. Gomez, though, has
16            failed in his complaint to describe what that nexus is or even
17            what the relevant physical place of public accommodation is,
18            and thus has failed to plead an injury under the ADA. As
19            Gomez cannot establish an injury under the ADA, he lacks
20
              standing, and the motion to dismiss under Rule 12(b)(1) is
21
              granted."
22
              (Dkt 23). See Exhibit A for a true and correct copy.
23
24            Similarly, on March 23, 2022 the Court in Gomez v. Buresh, (Case
25
        Number: 4:21-cv-08138-KAW, United States District Court, Central District
26
27      of California, The Honorable Kandis A. Westmore), filed an Order
28


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 1      GRANTING Defendant's Motion to Dismiss, ruling in relevant part:
 2
                   "Plaintiff does not assert that he was deterred from
 3
             accessing the services of Defendant’s physical office, such as
 4
             hiring Defendant to assist in purchasing or renting a place, or
 5
 6           even to view a location. Plaintiff also does not allege that he has
 7           or ever had any intention of visiting Defendant’s physical office.
 8           Plaintiff instead alleges that he was deterred from visiting the
 9           website itself, and was prevented from accessing information
10           about listings on the website. (Compl. ¶¶ 17 (“Plaintiff visited
11           the Website [to] get information about houses on sale and rent in
12
             Northern California.”), 24 (“Plaintiff has been deterred from
13
             returning to the Website as a result of these prior experiences.”),
14
             26 (“If the website had been constructed equally accessible to all
15
             individuals, Plaintiff would have been able to navigate the
16
17           Website and find information on houses on sale.”), 27 (“Plaintiff
18           will return to the Website to avail himself of its good and/or
19           services and to determine compliance with the disability access
20           laws once it is represented to him that the Real Estate and
21           Website are accessible”). Because Plaintiff makes no allegations
22           that he seeks to engage the services of or visit Defendant’s
23           business -- as opposed to his general interest in looking up
24
             information about listings on Defendant’s website -- Plaintiff
25
             fails to allege standing.
26
                   ...
27
28
                   Accordingly, the Court finds that Plaintiff has failed to


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 1            establish standing for his ADA claim, warranting its dismissal
 2            for lack of subject matter jurisdiction."
 3            (Dkt 18). See Exhibit E for a true and correct copy.
 4
              CONCLUSION
 5
 6         For all the foregoing reasons, Defendant respectfully requests that the
 7
        court grant a dismissal.
 8
 9         Respectfully submitted:
10         Dated: March 28, 2022
11                                                             SAHELIAN LAW OFFICES
12
13
14                                                        ___________________________
15                                                                    Ara Sahelian, Esq.
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